     Case 6:16-cr-00010-LGW-CLR Document 201 Filed 09/22/16 Page 1 of 1




                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                         STATE SBORO DIVISION


UNITED STATES OF AMERICA,                )



                                         )



            Plaintiff,                   )



V.                                       )     Case No. CR616-010
                                         )



JOHN CHRISTOPHER PAULSON,                )



                                         )



            Defendant.                   )




                                ORDER

      Application for leave of absence has been requested by Lynne M.

Fleming for the period of Thursday, November 3, 2016 through and

including Monday, November 14, 2016.

      The above and foregoing request for leave of absence is approved;

however, the attorney must make arrangements for other counsel in the

event the case is scheduled for hearing or trial during such leave.

      SO ORDERED this 22nd day of September, 2016.


                                     UNITED STATES MAGISTRATE RIDGE
                                     SOUTHERN DISTRICT OF GEORGIA
